Case 3:11-cv-OO76NITED STATES DISTRIGTCGCOVRI/14 Page 1 of 1
DISTRICT OF CONNECTICUT

JAMES FASOLI,
Plaintiff

V, CASE NO. 3:11-CV-0767 (CSH)

CITY OF STAMFORD, MICHAEL
LAROBINA, TANIA BARNES,MICHAEL
SACCO, EARNEST ORGERA,

Defendants

JUDGMENT

This action came on for consideration of the defendants’, motions for summary
judgment before the Honorable Charles S. Haight, Jr., Senior United States District Judge.
On August 17, 2011, an order entered dismissing defendant Tania Barnes from the case. In
addition, on February 24, 2014 an order entered dismissing defendant, Michael Larobina
from this case. The Court having considered the full record of the case, entered a ruling on
November 24, 2014, granting both motions for summary judgment, It is therefore;

ORDERED, ADJUDGED, and DECREED that judgment enter for defendants’
City of Stamford, Michael Sacco and Ernest Orgera and the case is closed.

Dated at New Haven, Connecticut, this 5th day of December, 2014.

ROBIN D. TABORA, Clerk
By: /s/

Kathleen Falcone
Deputy Clerk

EOD: December 5, 2014

 
